Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 1 of 47 Page ID #:1023



    1   TRUJILLO & TRUJILLO, APLC
    2   Robert Trujillo, Esq. (CA SBN 148975)
        Melody Trujillo, Esq. (CA SBN 165218)
    3   41593 Winchester Road, Suite 201
    4   Temecula, CA 92590
        Tel: 951-296-9529
    5
        Email: trulaw@trujillo-law.us
    6
    7
        Suzanne Skolnick, Esq. (CA SBN 211076)
        2888 Loker Avenue East, Suite 110-F
    8   Carlsbad, CA 92010
    9   Tel. (760) 405-4397
        Email: suzanne@skolnicklawgroup.com
   10
   11   Lewis Khashan, Esq. (CA SBN 275906)
        41593 Winchester Road, Suite 201
   12
        Temecula, CA 92590
   13   Tel: 951-775-7279
   14   Email: lewis@khashanlaw.com
   15   Attorneys for Plaintiffs Eddy Soriano,
   16   By and through his conservator, Sherly
        Tolentino, et al.
   17
   18                         UNITED STATES DISTRICT COURT
   19
                            CENTRAL DISTRICT OF CALIFORNIA
   20
   21   Eddy Soriano, by and through his       ) Case No. 5:16-cv-155 BRO (SP)
   22   Conservator, Sherly Tolentino; Marites )
        de Guzman; ,                           ) PLAINTIFFS’ THIRD AMENDED
   23                                          ) COMPLAINT FOR DAMAGES
   24                 Plaintiffs,              ) AND VIOLATIONS OF CIVIL
        v.                                     ) RIGHTS
   25
        COUNTY OF RIVERSIDE; CITY OF )
   26   MURRIETA; STANLEY SNIFF,               ) JURY TRIAL DEMANDED
   27
        Sheriff of Riverside County;           )
        WILLIAM DI YORIO, Undersheriff of )
   28   Riverside County; JULIO IBARRA,        )
                                                          1
                      PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                         CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 2 of 47 Page ID #:1024



    1   Senior Safety Coordinator for                      )
    2   Riverside County; JERRY                            )
        GUTIERREZ, Corrections Assistant                   )
    3   Sheriff; VIRGINIA BUSBY, Captain                   )
    4   of Robert Presley Detention Center;                )
        Correctional Deputy NORMAN                         )
    5
        NANTES; Correctional Deputy                        )
    6   JASON CHIVAS; Correctional Deputy                  )
    7
        JEFFREY PINION; Correctional                       )
        Deputy CHRISTOPHER ALVAREZ                         )
    8   Murrieta Police Department OFFICER                 )
    9   JEREMY MEADOWS; OFFICER H.                         )
        ADAMS; OFFICER ELLIOT;                             )
   10
        OFFICER TOMPKINS; OFFICER                          )
   11   MATTHEW MOZINGO; OFFICER                           )
        IRVING; TYLER SCOTT JACKSON;                       )
   12
        and DOES 1-125,                                    )
   13                Defendants.
   14
                                   PRELIMINARY STATEMENT
   15
   16         This action against the County of Riverside, City of Murrieta, and
   17
        individual agents and/or employees of the County of Riverside, arises due to the
   18
   19   Defendants’ improper placement of Plaintiff Eddy Soriano, a known mental health
   20   patient in need of mental health treatment and care, into custody within the jail
   21
        system, and Defendants’ subsequent failure to protect Plaintiff Eddy Soriano from
   22
   23   severe physical abuse inflicted upon him at the hand of his jail cellmate. As a
   24
        result of Defendants’ various actions and inactions, Plaintiff Eddy Soriano is now
   25
   26   in a permanent vegetative state, and will remain so for the duration of his lifetime.
   27
                                               JURISDICTION
   28
              1.     This action arises under Title2 42 of the United States Code, Section
                       PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                          CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 3 of 47 Page ID #:1025



    1   1983. Jurisdiction is conferred upon this Court by Title 28 of the United States
    2
        Code, Section 1331 and 1343. In addition, this Court has pendent and
    3
    4   supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over the state law claims
    5
        alleged in this complaint.
    6
    7                                                VENUE

    8         2.     The unlawful acts and practices alleged herein occurred in the
    9
        County of Riverside, State of California, within this judicial district. Therefore,
   10
   11   venue lies in the United States District Court for the Central District of California.
   12
                                       CLAIMS REQUIREMENT
   13
   14         3.     Plaintiffs have complied with the requirements of California
   15   Government Code section 900, et seq., where an action for state court claims is
   16
        filed against a public entity and its employees.
   17
   18                        CONSERVATORSHIP ESTABLISHED
   19
              4.     On September 1, 2015, Letters of Conservatorship were issued by the
   20
   21   Superior Court of California for the County of Los Angeles, naming Sherly
   22
        Tolentino as conservator over the person and estate of Eddy Soriano.
   23
   24
                                                    PARTIES

   25         5.     Plaintiff, Eddy Soriano, an individual, by and through his
   26
        conservator, Sherly Tolentino (hereafter “Soriano”), is, and at all times mentioned
   27
   28   herein was, a resident of the State of California.
                                                           3
                       PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                          CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 4 of 47 Page ID #:1026



    1         6.     Plaintiff Marites de Guzman (hereafter “de Guzman”) is the wife of
    2
        Plaintiff Eddy Soriano and is, and at all times mentioned herein was, a resident of
    3
    4   the State of California.
    5
              7.     Defendant County of Riverside (hereinafter “County”) is a public
    6
    7
        entity which is responsible for and administers the Robert Presley Detention

    8   Center (hereinafter “RPDC”) through its agency, the Riverside County Sheriff’s
    9
        Department (hereinafter “RCSD”). County promulgates policies and practices for
   10
   11   the housing, custody, care, safekeeping and protection of inmates in the RPDC.
   12
        The County and Does 1 -25 constructed, owned, operated, repaired, maintained
   13
   14   and controlled the buildings in which the RPDC is located.
   15         8.     Defendant City of Murrieta is a public entity city located in
   16
        California and is the employer of officers of the Murrieta Police Department.
   17
   18         9.     Defendant Stanley Sniff (hereafter “Sniff”) is, and at all times herein
   19
        mentioned was, the Sheriff of Riverside County. As Sheriff of Riverside County,
   20
   21   Sniff has ultimate supervision and management responsibility over the five jails,
   22
        or correctional facilities in Riverside County, all managed by the Sheriff’s
   23
   24
        Department Corrections Division. Sniff was elected as Sheriff in 2010 and took

   25   office in January, 2011. Sheriff Sniff ran, operated, oversaw, administered,
   26
        supervised and was otherwise responsible for the conduct of the RCSD at the
   27
   28   RPDC. Defendant Stanley Sniff is sued both individually and in his official
                                                           4
                       PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                          CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 5 of 47 Page ID #:1027



    1   capacity.
    2
              10.   Defendant William Di Yorio (hereafter “Di Yorio”) is, and at all
    3
    4   times herein mentioned was, the Undersheriff of Riverside County. Di Yorio ran,
    5
        operated, oversaw, administered, supervised and was otherwise responsible for the
    6
    7
        conduct of the RCSD at the RPDC.

    8         11.   Defendant Julio Ibarra (hereafter “Ibarra”) is, and at all times herein
    9
        mentioned was, the Senior Safety Coordinator for the County of Riverside. Ibarra
   10
   11   ran, operated, administered, supervised and was otherwise responsible for safety
   12
        policies and procedures for the Riverside County jail system, including the RPDC.
   13
   14         12.   Defendant Jerry Gutierrez (hereafter “Gutierrez”) is, and at all times
   15   herein mentioned was, the Corrections Assistant Sheriff of Riverside County.
   16
        Gutierrez ran, operated, oversaw, administered, supervised and was otherwise
   17
   18   responsible for the conduct of the RCSD at the RPDC.
   19
              13.   Defendant Virginia Busby (hereafter “Busby”) is, and at all times
   20
   21   herein mentioned was, Captain at the RPDC and ran, operated, oversaw,
   22
        administered, supervised and was otherwise responsible for the conduct of the
   23
   24
        RCSD at the RPDC.

   25         14.   Defendant Tyler Scott Jackson (hereafter “Jackson”) is, and at all
   26
        times herein mentioned, was a resident of the State of California and an inmate at
   27
   28   RPDC.
                                                           5
                       PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                          CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 6 of 47 Page ID #:1028



    1         15.    Does 26-50 are County of Riverside officials who ran, oversaw,
    2
        administered, supervised and were otherwise responsible for the conduct of the
    3
    4   RPDC.
    5
              16.    Does 51 -100 are and were Sheriff’s deputies or other employees or
    6
    7
        agents of the County of Riverside employed at the RPDC.

    8         17.    Defendant Jeremy Meadows (hereafter “Meadows”) is, and at all
    9
        times stated herein was, a police officer for the City of Murrieta, (Badge Number
   10
   11   833), and a resident of California.
   12
              18.    Defendant Officer H. Adams (Badge Number 642) (hereafter
   13
   14   “Adams”) is, and at all times stated herein was, a police officer for the City of
   15   Murrieta, and a resident of California.
   16
              19.    Defendant Corporal Elliot (Badge Number 664) (hereafter “Elliot”)
   17
   18   is, and at all times stated herein was, a police officer for the City of Murrieta, and
   19
        a resident of California.
   20
   21         20.    Defendant Officer Tompkins (Badge Number 659) (hereafter
   22
        “Tompkins”) is, and at all times stated herein was, a police officer for the City of
   23
   24
        Murrieta, and a resident of California.

   25         21.    Defendant Matthew Mozingo (hereafter “Mozingo”) is, and at all
   26
        times stated herein was, a police officer for the City of Murrieta (Badge Number
   27
   28   441) and a resident of California.
                                                           6
                       PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                          CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 7 of 47 Page ID #:1029



    1         22.    Defendant Officer Irving (Badge Number 894) (hereafter “Irving”) is,
    2
        and at all times stated herein was, a police officer for the City of Murrieta, and a
    3
    4   resident of California.
    5
              23.    Defendant Correctional Deputy Norman Nantes (hereafter “Nantes”)
    6
    7
        is, and at all times stated herein was, a correctional deputy for the County of

    8   Riverside Sheriff’s Department and was working at the Robert Presley Detention
    9
        Center on the date of the incident, and was assigned to supervise the inmates in
   10
   11   5B, including Plaintiff Soriano and Defendant Jackson at the time of the incident.
   12
              24.    Defendant Correctional Deputy Jeffrey Pinion (hereafter “Pinion”) is,
   13
   14   and at all times stated herein was, a correctional deputy for the County of
   15   Riverside Sheriff’s Department and was working at the Robert Presley Detention
   16
        Center on the date of the incident, and was assigned to supervise the inmates in
   17
   18   5B, including Plaintiff Soriano and Defendant Jackson at the time of the incident.
   19
        Defendant Pinion was also assigned to the control Pod for 5B at the time of the
   20
   21   incident.
   22
              25.    Defendant Correctional Deputy Jason Chivas (hereafter “Chivas”) is,
   23
   24
        and at all times stated herein was, a correctional deputy for the County of

   25   Riverside Sheriff’s Department and was working at the Robert Presley Detention
   26
        Center on the date of the incident, and was assigned to supervise the inmates in
   27
   28   5B, including Plaintiff Soriano and Defendant Jackson at the time of the incident.
                                                           7
                       PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                          CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 8 of 47 Page ID #:1030



    1         25.1. Defendant Correctional Deputy Christopher Alvarez (hereafter
    2
        “Alvarez”) is, and at all times stated herein was, a correctional deputy for the
    3
    4   County of Riverside Sheriff’s Department and was working at the Robert Presley
    5
        Detention Center on the date of the incident, and was assigned to classification of
    6
    7
        inmates at the jail and was responsible for housing Plaintiff Soriano in the same

    8   cell as Defendant Jackson.
    9
              26.      Plaintiff is ignorant of the true names and capacities of Defendant
   10
   11   Does 1 – 125, inclusive, and therefore sue these defendants by such fictitious
   12
        names. Plaintiffs are informed and believe, and based thereon allege, that each
   13
   14   defendant so named is responsible in some manner for the injuries and damages
   15   suffered by Plaintiffs. Plaintiffs will amend this complaint to state the true names
   16
        and capacities of defendants Does 1 – 125, inclusive, when they have been
   17
   18   ascertained.
   19
              27.      Does 101-125 are and were at the time of the facts giving rise to this
   20
   21   complaint, employees or agents of the City of Murrieta.
   22
              28.      At all times mentioned herein, each named Doe Defendant 1 through
   23
   24
        100, inclusive, was the agent or employee of Defendant County of Riverside and,

   25   in doing the things alleged, was acting within the course and scope of such agency
   26
        or employment and with the actual or implied permission, consent, authorization
   27
   28   and approval of the County.
                                                             8
                         PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                            CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 9 of 47 Page ID #:1031



    1         29.    At all times mentioned herein, each named Doe Defendant 101
    2
        through 125, inclusive, was the agent or employee of Defendant City of Murrieta
    3
    4   and, in doing the things alleged, was acting within the course and scope of such
    5
        agency or employment and with the actual or implied permission, consent,
    6
    7
        authorization and approval of the City.

    8         30.    Plaintiff Eddy Soriano is the father of five adult children named:
    9
        Gerlie S. Hall, Sheryl Soriano, Emily Soriano, Rhoderick Soriano, and Donald
   10
   11   Soriano. In the event that Plaintiff Eddy Soriano succumbs to his injuries and
   12
        passes away while this action is pending, Plaintiffs will amend the complaint to
   13
   14   allege a cause of action for wrongful death brought on behalf of each of Plaintiff
   15   Eddy Soriano’s children and Plaintiff Marites de Guzman.
   16
                                       STATEMENT OF FACTS
   17
   18         31.    Plaintiff Eddy Soriano was a 64 year old man suffering from mental
   19
        health conditions, who had an extensive prior history of undiagnosed night terrors.
   20
   21   Prior to the incident, Mr. Soriano lived in Long Beach, California. On numerous
   22
        prior occasions, during these night terror episodes, Mr. Soriano would roam the
   23
   24
        Long Beach neighborhoods in a confused and disoriented state, and would be

   25   picked up by Long Beach police department officers. According to standard
   26
        operating procedures of the Long Beach police department, the officers would
   27
   28   impose a Welfare and Institutions Code section 5150 involuntary psychiatric hold
                                                           9
                       PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                          CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 10 of 47 Page ID #:1032



     1   on Mr. Soriano, so that Mr. Soriano could receive appropriate mental health
     2
         attention and care, as opposed to arresting Mr. Soriano and placing him into
     3
     4   custody with the general jail population.
     5
               32.    On February 8, 2015, Plaintiff Eddy Soriano suffered a night terror
     6
     7
         episode while visiting friends in Murrieta, California. During the episode, Mr.

     8   Soriano left his friend’s home and began wandering the streets of Murrieta in a
     9
         confused state. Witnesses stated that he was seeing things that weren’t there,
    10
    11   appeared confused, and believed that he was being chased by individuals who
    12
         were trying to hurt him. On the night in question, Mr. Soriano ran frantically
    13
    14   through the neighborhood on Lido Drive in Murrieta, before ultimately climbing
    15   into, and attempting to hide himself in, an unlocked vehicle. Officers from the
    16
         City of Murrieta Police Department received a 911 call that a delusional man was
    17
    18   running around who suffered from dementia. Officers from the City of Murrieta
    19
         Police Department responded to the call and, despite knowing: (a) Plaintiff Eddy
    20
    21   Soriano’s prior mental health history; (b) that Plaintiff Eddy Soriano had no
    22
         criminal record; (c) that Plaintiff Eddy Soriano had a prior history of numerous
    23
    24
         5150 encounters through the Long Beach Police Department; and (d) having

    25   information from witnesses that Mr. Soriano suffered from dementia; Murrieta
    26
         police officers did not impose an involuntary psychiatric hold on Mr. Soriano and
    27
    28   instead, placed him under arrest and booked him into the Southwest Detention
                                                            10
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 11 of 47 Page ID #:1033



     1   Center in Murrieta, California.
     2
               33.    Mr. Soriano was thereafter transferred from the Murrieta Police
     3
     4   Department to Southwest Detention Center and ultimately, into the custody of
     5
         County and RCSD at the RPDC. While incarcerated at RPDC, Mr. Soriano was
     6
     7
         transferred from the general inmate population into a mental health cell. The

     8   mental health cell is one that is reserved for inmates exhibiting a mental health
     9
         condition. In the mental health cell in which Mr. Soriano was placed, there is an
    10
    11   intercom button that an inmate is supposed to be able to use to communicate with
    12
         the deputies. The alarm portion of the audio component/intercom button in Mr.
    13
    14   Soriano’s cell had been disconnected since 2006 by order of Defendant Gutierrez.
    15   All of the deputies at RPDC that had ever covered surveillance for the mental
    16
         health cell in which Mr. Soriano was placed, were aware – since the time it was
    17
    18   disconnected in 2006 - that the alarm portion of the audio component/intercom
    19
         system did not function, yet repeatedly signed off on safety check sheets that the
    20
    21   system was in good working order and condition. At no time did any deputy
    22
         inform Mr. Soriano that the alarm portion of the audio component/intercom button
    23
    24
         in his cell did not function.

    25         34.    At any given moment, there are supposed to be three officers
    26
         responsible for surveilling the cells. These officers are known as “Pod 1”, “Pod
    27
    28   2” and “Pod runner” respectively. The Pod 1 officer must remain at his post
                                                             11
                         PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                            CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 12 of 47 Page ID #:1034



     1   constantly and watches the video screens linked to the cells at all times. The cells,
     2
         including the one in which Mr. Soriano was housed, were equipped with video
     3
     4   surveillance and should have been equipped with a functioning alarm portion of
     5
         the audio/intercom system. Each hour, a deputy of the RCSD is also required to
     6
     7
         perform a physical visual inspection of each cell, including the mental health cell

     8   in which Mr. Soriano was housed.
     9
               35.    Prior to, and on the date of this incident, Defendant Jackson was a
    10
    11   violent, mentally unstable inmate at RPDC in the custody of County and RCSD.
    12
         Defendant Jackson, aged 23, was some 41 years younger than Plaintiff Eddy
    13
    14   Soriano (aged 64), and was significantly larger than Eddy Soriano in stature and
    15   build. At all times herein mentioned, County, RCSD and its employees knew or
    16
         should have known that Jackson was a danger to other persons in custody at
    17
    18   RPDC, and a danger to Mr. Soriano in particular. Due to Jackson’s prior violence,
    19
         there were orders that Jackson be housed alone prior to the time that he was
    20
    21   housed in the same cell with Eddy Soriano. RPDC officials disregarded the
    22
         substantial risk to Plaintiff Eddy Soriano’s health and safety when they housed
    23
    24
         Eddy Soriano, who had never previously been incarcerated, with Defendant

    25   Jackson, a convicted felon.
    26
               35.1. Class notes detailing Jackson’s prior violent tendencies and threats
    27
    28   were maintained by the classification office at the jail and were accessible to any
                                                            12
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 13 of 47 Page ID #:1035



     1   County classification employee prior to housing Plaintiff Soriano with Jackson.
     2
         The class notes on Defendant Jackson showed that he had violent tendencies
     3
     4   towards his cellmates since entering the Riverside County jail system in
     5
         September, 2014. Prior incidents included: September 20, 2014 - Jackson was
     6
     7
         involved in a Penal Code 242 (battery) with another inmate; January 15, 2015 -

     8   Jackson was taken to a safety cell “for being a danger to others”; February 3, 2015
     9
         - Jackson verbally threatened a deputy; February 8, 2015 - Jackson informed
    10
    11   deputies that he would attack his cellmate in cell 1687 “as soon as the door
    12
         opened”; February 8, 2015 - Jackson stated he wanted to fight his cellmate in cell
    13
    14   1695; February 10, 2015 - Jackson threatened his cellmate in cell 1691 saying he
    15   “just wants to fight” and inmate Richard Oliphant told County employee Corporal
    16
         Velasquez that “somebody needs to get Jackson out of his cell before a fight
    17
    18   happens”; February 17, 2015 - (the day before Plaintiff Soriano was beaten)
    19
         Jackson was removed from his cell “to avoid a [Penal Code] 242 [battery] with his
    20
    21   cellie”. Class notes further indicate on February 9, 2015 - just 9 days before the
    22
         incident with Plaintiff Soriano - that mental health had been “seeing Jackson all
    23
    24
         week…and he continues to tell” that he wants to “fight”. An entry in the class

    25   notes for February 9, 2015 also states “Jackson has been rehoused twice in the last
    26
         two days and has had an issue with all cell mates.”
    27
    28         36.    Prior to, and on the date of this incident, Defendants knew or should
                                                            13
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 14 of 47 Page ID #:1036



     1   have known that Mr. Soriano had a mental health condition and suffered from
     2
         night terrors that would cause Mr. Soriano to act out at times and behave in an
     3
     4   irrational manner.
     5
               37.    On February 18, 2015, while incarcerated at RPDC in Riverside,
     6
     7
         California, Plaintiff Eddy Soriano was placed in the mental health cell that lacked

     8   a functioning alarm component of the audio/intercom system, along with
     9
         Defendant Jackson. On February 18, 2015, while both men were in their shared
    10
    11   cell, Defendant Jackson began a course of physical assault, threats and
    12
         intimidation toward Plaintiff Eddy Soriano lasting approximately two hours from
    13
    14   start to finish and resulting in two separate distinct attacks causing severe injuries
    15   to Plaintiff Eddy Soriano. The first attack occurred approximately one hour and
    16
         25 minutes before the second attack. The first attack involved Defendant Jackson
    17
    18   punching Soriano in the face two times causing his face to bleed profusely.
    19
         Approximately one hour and 25 minutes later, the second (main) attack occurred
    20
    21   wherein Defendant Jackson severely beat Plaintiff Eddy Soriano for a period of
    22
         approximately 21 minutes. Defendant Jackson inflicted severe injuries to Plaintiff
    23
    24
         Eddy Soriano, including, but not limited to, skull and facial fractures and severe

    25   brain damage. Following the first attack, Defendants Nantes and Chivas
    26
         performed pill call and had an opportunity to observe that plaintiff was seriously
    27
    28   injured and required immediate medical attention, yet neither Defendant Nantes or
                                                            14
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 15 of 47 Page ID #:1037



     1   Chivas took any action to provide Plaintiff Eddy Soriano with the medical
     2
         attention he required, nor did they intervene to prevent any further violence
     3
     4   against Plaintiff Eddy Soriano despite having ample opportunity to do so.
     5
         Approximately one hour and 25 minutes after the first attack, the second (main)
     6
     7
         21-minute-long attack of Plaintiff Eddy Soriano by Defendant Jackson began.

     8   During the second attack, Plaintiff Eddy Soriano desperately attempted to
     9
         summon help from the deputies by pressing the intercom button at least 3 times,
    10
    11   however, no deputies responded to his call. During the second attack, the “Pod 1”
    12
         officer on duty should have received video images of Plaintiff Eddy Soriano being
    13
    14   attacked in his cell, and would have received video images of Plaintiff Eddy
    15   Soriano being attacked in his cell, had the Pod 1 officer been performing his
    16
         assigned duties. Additionally, during the second attack, Plaintiff Eddy Soriano
    17
    18   pressed a button in his cell which caused a blue light to flash in the control Pod.
    19
         The blue flashing light continues to flash until a deputy turns it off. During the
    20
    21   second 21-minute long attack, plaintiff is informed and believes that the blue light
    22
         was flashing continuously in the control Pod. Yet, for 21 minutes, no officer
    23
    24
         responded to Mr. Soriano’s aid. During the 21-minute attack, RCSD deputies

    25   were required to conduct regularly scheduled, physical, walk-through, visual
    26
         inspections of Mr. Soriano’s cell, however, either no physical, visual inspection
    27
    28   was ever performed as scheduled, or the officer performing the inspection ignored
                                                            15
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 16 of 47 Page ID #:1038



     1   Mr. Soriano’s pleas for help. As result of the severe beating Mr. Soriano received
     2
         while in the care and custody of the County of Riverside, Mr. Soriano is now in
     3
     4   permanent vegetative state and requires round-the-clock medical care and
     5
         attention and will require such care for the remainder of his life.
     6
     7                                                  DAMAGES

     8          38.    As a proximate result of Defendants’ conduct, Plaintiff Eddy Soriano
     9
         suffered permanent traumatic brain injury resulting in pain and suffering, past and
    10
    11   future medical expenses, past and future wage loss, and past and future lost
    12
         earning capacity.
    13
    14          39.    Plaintiffs have found it necessary to engage the services of counsel to
    15   vindicate their rights under the law. Plaintiffs are therefore entitled to an award of
    16
         all attorneys’ fees and litigation costs incurred in pursuing this action for violation
    17
    18   of civil rights.
    19
                                           FIRST CAUSE OF ACTION
    20
    21      (Violation of 42 U.S.C. § 1983 - brought by Soriano Against Defendants
    22
            County; Stanley Sniff; William Di Yorio; Julio Ibarra; Jerry Gutierrez;
    23
    24
                                       Virginia Busby; and Does 26 – 50)

    25          40.    Plaintiff Eddy Soriano realleges and incorporates by reference
    26
         paragraphs 1-39 of this complaint.
    27
    28          41.    Defendants’ above alleged actions and failures to act resulted from
                                                                16
                            PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                               CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 17 of 47 Page ID #:1039



     1   policies, customs and practices of Defendants County; Sniff, Di Yorio; Ibarra;
     2
         Gutierrez; Busby and Does 26-50, including, but not limited to, the following:
     3
     4               a. County; Sniff; Di Yorio; Ibarra; Gutierrez; Busby and Does 26-
     5
                         50, caused and permitted the RPDC to be overcrowded. The
     6
     7
                         overcrowding contributed to causing inmate on inmate violence.

     8               b. County; Sniff; Di Yorio; Ibarra; Gutierrez; Busby and Does 26-
     9
                         50, required violent and/or mentally unstable inmates to be housed
    10
    11                   in the same cell as other inmates.
    12
                     c. County; Sniff; Di Yorio; Ibarra; Gutierrez; Busby and Does 26-
    13
    14                   50, failed to assign sufficient Sheriff’s deputies to the RPDC in
    15                   order to provide adequate monitoring and supervision of the
    16
                         inmates.
    17
    18               d. County; Sniff; Di Yorio; Ibarra; Gutierrez; Busby and Does 26-
    19
                         50, failed to properly train the Sheriff’s deputies assigned to the
    20
    21                   RPDC so that the deputies did not have sufficient knowledge or
    22
                         skills to adequately monitor and supervise the inmates.
    23
    24
                     e. County; Sniff; Di Yorio; Ibarra; Gutierrez; Busby and Does 26-

    25                   50, failed to provide jail buildings with functioning alarm
    26
                         components in the audio/intercom systems so that Sheriff’s
    27
    28                   deputies could respond promptly and communicate with inmates
                                                           17
                       PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                          CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 18 of 47 Page ID #:1040



     1                   that needed assistance.
     2
                     f. County; Sniff; Di Yorio; Ibarra; Gutierrez; Busby and Does 26-
     3
     4                   50, failed to properly use the video surveillance systems that were
     5
                         available to them for supervising the cells while on duty at RPDC;
     6
     7
                     g. County; Sniff; Di Yorio; Ibarra; Gutierrez; Busby and Does 26-

     8                   50, ignored video surveillance systems that were available to them
     9
                         for supervising cells while on duty at RPDC.
    10
    11               h. County; Sniff; Di Yorio; Ibarra; Gutierrez; Busby and Does 26-
    12
                         50, failed to follow standard operating procedures regarding
    13
    14                   performing physical visual inspections of the cells at RPDC.
    15               i. County; Sniff; Di Yorio; Ibarra; Gutierrez; Busby and Does 26-50
    16
                         failed to perform their job duties in monitoring the inmates,
    17
    18                   supervising the inmates, and inspecting and maintaining the
    19
                         inmate audio and visual monitoring systems.
    20
    21         42.   In 2013, prior to Plaintiff’s brutal attack, at least three occurrences of
    22
         inmate-on-inmate violence resulting in death or severe injuries at the County of
    23
    24
         Riverside’s Southwest Detention Center facility occurred. The three occurrences

    25   included (a) the severe beating of Vernon Vasquez on January 10, 2013; (b) the
    26
         death of Julio Negrete on May 9, 2013 and (c) the severe beating of William Ray
    27
    28   Espinoza on November 14, 2013. All three occurrences stemmed from County’s
                                                            18
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 19 of 47 Page ID #:1041



     1   policy, practice and custom of overcrowding inmates, improperly classifying
     2
         inmates, housing violent and mentally unstable inmates together in cells, failing to
     3
     4   follow standard operating procedures regarding performing visual inspections of
     5
         inmates and inadequately monitoring and maintaining audio and visual monitoring
     6
     7
         systems.

     8         43.    At the time that Plaintiff Eddy Soriano was attacked, County of
     9
         Riverside jail facilities ranked second in California for in-custody deaths
    10
    11   according to Department of Justice statistics and since Plaintiff Eddy Soriano’s
    12
         attack, in-custody deaths in the County of Riverside have continued to rise.
    13
    14         44.    Since Plaintiff’s brutal attack, inmate Robert Anthony Hearn died
    15   from an attack by his cellmate on March 17, 2015 at County’s Larry D. Smith
    16
         Correctional Facility.
    17
    18         45.    Based on the frequency, characteristics and locations of the foregoing
    19
         alleged occurrences of severe inmate-on-inmate violence throughout County’s
    20
    21   various jail facilities, Plaintiff alleges that County’s actions and inactions related
    22
         to overcrowding inmates, improperly classifying inmates, housing violent and
    23
    24
         mentally unstable inmates together in cells, failing to follow standard operating

    25   procedures regarding performing visual inspections of inmates and inadequately
    26
         monitoring and maintaining audio and visual monitoring systems, are widespread
    27
    28   in usage and constitute policies, practices and customs of County.
                                                            19
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 20 of 47 Page ID #:1042



     1          46.   In doing the acts complained of above, County; Sniff; Di Yorio;
     2
         Ibarra; Gutierrez; Busby and Does 26-50, acted under color of State law to deprive
     3
     4   Plaintiff Eddy Soriano of certain constitutionally protected rights, including, but
     5
         not limited to, the right not to be deprived of life or liberty without due process of
     6
     7
         law, as guaranteed by the Fifth and Fourteenth Amendments to the United States

     8   Constitution.
     9
                47.   In acting and failing to act as hereinabove alleged, Defendants, and
    10
    11   each of them, were deliberately indifferent to the substantial risk that Jackson
    12
         would assault and severely injure Plaintiff Eddy Soriano.
    13
    14          48.      As a proximate result of Defendants’ wrongful conduct, Plaintiff
    15   Eddy Soriano suffered the injuries and damages as set forth.
    16
                49.   In acting as hereinabove alleged, the conduct of Defendants Sniff; Di
    17
    18   Yorio; Ibarra; Gutierrez; Busby and Does 26-50, was performed knowingly,
    19
         intentionally, maliciously, amounting to despicable conduct by reason of which
    20
    21   Plaintiffs are entitled to an award of punitive damages in a just and reasonable
    22
         sum.
    23
    24
                                           SECOND CAUSE OF ACTION

    25            (42 U.S.C. §1983 – Brought by Soriano Against Defendants Nantes,
    26
                                           Pinion, Chivas and Does 51-100)
    27
    28          50.   Plaintiff Eddy Soriano realleges and incorporates by reference
                                                              20
                          PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                             CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 21 of 47 Page ID #:1043



     1   paragraphs 1 through 49 of this Complaint.
     2
               51.    On February 18, 2015, Defendants Nantes, Pinion and Chivas were
     3
     4   assigned to monitor, supervise and protect the inmates in section 5B of the RPDC,
     5
         including cell 5B51, which was the cell in which Plaintiff Eddy Soriano and
     6
     7
         Defendant Jackson were housed and where the incident occurred.

     8         52.    The cells in 5B, including cell 5B51, contain video cameras which
     9
         record movement in the cells constantly. The video is simultaneously transmitted
    10
    11   to the surveillance control room (also known as the “Pod”) and is projected on
    12
         television screens inside the Pod for the deputy in charge of the Pod to watch.
    13
    14   Additionally, in the Pod there is a control board that corresponds to each cell in
    15   5B. Each cell in 5B also has an intercom system. When the intercom system
    16
         button is pressed inside a cell, the control board in the Pod lights up with a blue
    17
    18   flashing light to alert any deputy in the control Pod that an inmate has called for
    19
         help. The blue light flashes constantly until a deputy turns it off. Additionally,
    20
    21   when an inmate presses the intercom button, an audible alarm is also supposed to
    22
         sound in the control Pod, as a further warning to officers that an inmate requires
    23
    24
         attention. On the date of the incident, the audible alarm component of the

    25   surveillance system for cell 5B51 was not functioning and had not been
    26
         functioning since it was disconnected in 2006. However, at the time of the
    27
    28   incident, the blue flashing light for cell 5B51, along with the projected video
                                                            21
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 22 of 47 Page ID #:1044



     1   images of that cell were both functioning correctly. Additionally, the 5B Pod has
     2
         large windows that look directly into the 5B dayroom and the cells, including cell
     3
     4   5B51, are visible from the control Pod windows. Cell 5B51 is less than 50 feet
     5
         from the 5B control Pod.
     6
     7
                  53.   At the time of the incident, Defendant Pinion was assigned to

     8   monitor the control Pod while Defendants Chivas and Nantes were assigned to
     9
         make the security checks, conduct pill calls, laundry exchange and other functions
    10
    11   in 5B.
    12
                  54.   Surveillance video of the attack on Plaintiff Eddy Soriano shows that
    13
    14   the attack on Plaintiff by Defendant Jackson spanned a two hour period and was
    15   comprised of two distinct attacks. The first attack occurred approximately one
    16
         hour and 25 minutes before the second, main attack. The second (main) attack
    17
    18   lasted approximately 21 minutes and resulted in Plaintiff Eddy Soriano being so
    19
         severely beaten as to now be in a permanent vegetative state. In the first attack
    20
    21   Defendant Jackson punched Plaintiff Eddy Soriano in the face two times, with the
    22
         second punch, causing plaintiff serious facial injuries and bleeding. The first
    23
    24
         attack was captured on cell 5B51’s video and was clearly visible to Defendant

    25   Pinion on the monitors in the control room Pod at the time of the incident.
    26
         Defendant Pinion knew or should have known that plaintiff had been injured by
    27
    28   Defendant Jackson because the cell video surveillance system projected the
                                                              22
                          PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                             CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 23 of 47 Page ID #:1045



     1   images into the control Pod that Defendant Pinion was monitoring at the time and
     2
         also because plaintiff was clearly visible on camera caring for his injuries with a
     3
     4   towel applied to his face for an extended period of time, during which Defendant
     5
         Pinion either knew or should have known that plaintiff had serious medical needs
     6
     7
         that required immediate medical attention.

     8         55.    The injuries Plaintiff Eddy Soriano sustained in the first attack were
     9
         also clearly visible to any deputy checking on Plaintiff Eddy Soriano following
    10
    11   the first attack because Plaintiff Eddy Soriano was bleeding profusely from his
    12
         face, had bruising on his face, and was using a towel to soak up the blood from his
    13
    14   face for an extended period of time after the first attack occurred. Plaintiff Eddy
    15   Soriano’s injuries from the first attack were also visible to anyone looking into
    16
         cell 5B51 because plaintiff stood near the cell door, facing the window to the cell
    17
    18   following the first attack. The first attack and plaintiff’s conduct after the attack
    19
         are clearly visible on the cell surveillance video.
    20
    21         56.    Defendants Nantes and Chivas both saw Plaintiff Eddy Soriano
    22
         during pill call which occurred between the first and second attacks. Both Nantes
    23
    24
         and Chivas knew, or should have known, based on Plaintiff Eddy Soriano’s

    25   visible facial injuries that Plaintiff Eddy Soriano was seriously injured and
    26
         required immediate medical assistance at the time that pill call occurred.
    27
    28         57.    At no time during the one hour 25 minute period of time after the
                                                            23
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 24 of 47 Page ID #:1046



     1   initial two punches by Defendant Jackson, to the time when Defendant Jackson
     2
         began his lengthy beating of Plaintiff, did Defendants Nantes, Pinion, Chivas or
     3
     4   DOES 51-100 respond to Plaintiff Eddy Soriano’s serious medical needs.
     5
               58.    Approximately one hour and 25 minutes after the first attack, the
     6
     7
         second (main) attack of plaintiff by Defendant Jackson occurred, wherein

     8   Defendant Jackson repeatedly punched plaintiff, kicked plaintiff and stomped on
     9
         plaintiff’s head for an excruciating 21 minutes. The second attack is clearly
    10
    11   visible on the cell surveillance video and continued for an unreasonable, extended
    12
         period of time, during which plaintiff frantically pushed his cell intercom button
    13
    14   for help, which triggered the blue light to flash in the control Pod.
    15         59.    Defendants Nantes, Pinion, Chivas and DOES 51-100 were present
    16
         in 5B throughout the entirety of the second attack and failed to respond to
    17
    18   plaintiff’s cries for help, the sound of stomping, yelling and banging on the cell
    19
         door, the blue flashing light in the Pod control room, or the images of plaintiff
    20
    21   being brutally beaten by Defendant Jackson that were being simultaneously
    22
         projected to the Pod control room monitors over the course of 21 minutes.
    23
    24
               60.    At all times relevant here, Defendants Nantes, Pinion, Chivas and

    25   DOES 51-100 were present and were charged with the constitutional duties of
    26
         protection of plaintiff and were charged with the duty to not knowingly, with
    27
    28   wanton disregard, cause his life, health and safety to be placed in danger by
                                                            24
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 25 of 47 Page ID #:1047



     1   intentionally and/or deliberately ignoring the known dangers to plaintiff that their
     2
         actions or omissions placed him in.
     3
     4         61.    Defendants Nantes, Pinion, Chivas and DOES 51-100 placed plaintiff
     5
         in danger by the following acts and/or omissions:
     6
     7
                      a. By placing plaintiff, a non-violent, elderly, pre-trial detainee

     8                   suffering from mental health issues, in a cell with Defendant
     9
                         Jackson, who was known by Defendants County of Riverside,
    10
    11                   Nantes, Pinion, Chivas and DOES 51-100 to have recently
    12
                         displayed frequent aggressive and combative behavior toward his
    13
    14                   cellmates, without watching, monitoring or protecting plaintiff;
    15                b. By placing plaintiff, a non-violent, elderly, pre-trial detainee
    16
                         suffering from mental health issues, in a cell with a violent
    17
    18                   criminal under circumstances which were conducive to the
    19
                         eruption of violence;
    20
    21                c. Causing plaintiff to remain in the cell with Defendant Jackson
    22
                         when defendants knew, or should have known, that the first attack
    23
    24
                         (2 punches causing facial trauma and bruising) had already

    25                   occurred, that further violence was imminent, and that plaintiff
    26
                         was utterly defenseless and substantially smaller in stature than
    27
    28                   Defendant Jackson to be able to defend himself;
                                                            25
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 26 of 47 Page ID #:1048



     1                d. Not observing or protecting Plaintiff or otherwise standing by and
     2
                         allowing a brutal beating of plaintiff by Defendant Jackson to
     3
     4                   continue for an unreasonable length of time, resulting in
     5
                         unnecessary and grievous injury to Plaintiff;
     6
     7
                      e. Not reacting to multiple warnings which continued for a lengthy

     8                   period of time throughout the totality of the brutal attack,
     9
                         including a blue flashing light in the 5B control Pod, the
    10
    11                   simultaneously streaming video surveillance of the beating
    12
                         occurring in cell 5B51, the sound and thumping sensation of
    13
    14                   Defendant Jackson stomping on plaintiff’s head no less than 30
    15                   times which could be heard throughout the 5B cellblock,
    16
                         numerous cries for help, screaming and banging on the cell door
    17
    18                   which was heard by multiple inmates throughout the 5B cellblock.
    19
               62.    Plaintiff is informed and believes that County of Riverside, Nantes,
    20
    21   Pinion, Chivas and DOES 51-100 were aware of the threat that Defendant Jackson
    22
         represented to plaintiff based on Jackson’s prior violent incidents and aggressive
    23
    24
         behavior toward his cellmates, which was known to County of Riverside, Nantes,

    25   Pinion, Chivas and DOES 51-100 prior to placing plaintiff in the cell with
    26
         Jackson. County of Riverside, Nantes, Pinion, Chivas and DOES 51-100,
    27
    28   intentionally, recklessly and with deliberate indifference, failed to take any
                                                            26
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 27 of 47 Page ID #:1049



     1   security measures to protect non-violent pre-trial detainees with mental health
     2
         issues like plaintiff, from being victims of violent assault and battery while in their
     3
     4   custody.
     5
               63.    Nantes, Pinion, Chivas and DOES 51-100 had ample and reasonably
     6
     7
         sufficient time and opportunity to intervene and prevent plaintiff’s injuries, and

     8   were compelled to do so as Sheriff’s deputies under the laws of the State of
     9
         California and under the Constitution of the United States of America. In
    10
    11   deliberate indifference to the life and welfare of plaintiff, each said Defendant
    12
         intentionally and with deliberate indifference to the civil rights of plaintiff,
    13
    14   refrained from intervening in the acts leading to Plaintiff’s injuries.
    15         64.    In doing the acts complained of, Defendants Nantes, Pinion, Chivas
    16
         and DOES 51-100 acted under the color of state law to deprive Plaintiff Eddy
    17
    18   Soriano of certain constitutionally protected rights including, but not limited to,
    19
         the right not to be deprived of life or liberty without due process of law, as
    20
    21   guaranteed by the Fifth and Fourteenth Amendments to the United States
    22
         Constitution. The above acts and omissions, while carried out under color of law,
    23
    24
         have no justification or excuse in law, and instead constitute a gross abuse of

    25   governmental authority and power, shock the conscience, are fundamentally
    26
         unfair, arbitrary and oppressive and unrelated to any activity which governmental
    27
    28   officers may appropriately and legally undertake in the course of protecting
                                                            27
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 28 of 47 Page ID #:1050



     1   persons or property or ensuring civil order.
     2
               65.     In acting and failing to act as hereinabove alleged, Defendants
     3
     4   Nantes, Pinion, Chivas and DOES 51-100, and each of them, were deliberately
     5
         indifferent to the substantial risk that Jackson would assault and severely injure
     6
     7
         Plaintiff Eddy Soriano.

     8         66.    As a proximate result of Defendants Nantes, Pinion, Chivas and Does
     9
         51 – 100’s wrongful conduct, Plaintiff Eddy Soriano suffered injuries and
    10
    11   damages as set forth.
    12
               67.    The conduct of Defendants Nantes, Pinion, Chivas and Does 51 –
    13
    14   100, and each of them, was intentional, malicious, willful, wanton and in reckless
    15   disregard of Plaintiff’s constitutional rights and/or grossly negligent in that this
    16
         conduct shocks the conscience and is fundamentally offensive to a civilized
    17
    18   society, so as to justify the imposition of punitive damages against each of the
    19
         foregoing individual defendants.
    20
    21                                      THIRD CAUSE OF ACTION
    22
                (State Law Claim for Negligence – Brought by Soriano and de
    23
    24
               Guzman Against Defendants County, Nantes, Pinion, Chivas and Does

    25         51-100)
    26
               68.    Plaintiff Eddy Soriano and Plaintiff de Guzman reallege and
    27
    28   incorporate by reference paragraphs 1 - 67 of this complaint.
                                                             28
                         PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                            CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 29 of 47 Page ID #:1051



     1         69.    At all times mentioned herein, County, Nantes, Pinion, Chivas and
     2
         Does 51-100 were subject to a duty of due care to monitor and supervise inmates
     3
     4   of the RPDC. County, Nantes, Pinion, Chivas and Does 51-100 also had a duty to
     5
         take all reasonably necessary steps to ensure Plaintiff Eddy Soriano’s personal
     6
     7
         security while he was an inmate at RPDC.

     8         70.    Under California Government Code Sections 845.6; 820(a) and
     9
         Section 815.2, Defendant County, Nantes, Pinion, Chivas and Does 51-100 had a
    10
    11   duty to take reasonable action to summon medical care when Defendant County,
    12
         Nantes, Pinion, Chivas and Does 51-100 knew, or had reason to know that
    13
    14   Plaintiff Eddy Soriano required immediate medical care.
    15         71.    Under California Government Code Sections 856, 820(a) and Section
    16
         815.2, Defendant County, Nantes, Pinion, Chivas and Does 51-100 had a duty to
    17
    18   use due care in carrying out a determination to confine Plaintiff Eddy Soriano and
    19
         the terms and conditions of Eddy Soriano’s confinement while at RPDC.
    20
    21         72.    On the day of the incident, County, Nantes, Pinion, Chivas and Does
    22
         51-100 negligently failed to exercise due care in monitoring and supervising
    23
    24
         Plaintiff Eddy Soriano and Defendant Tyler Scott Jackson by: failing to properly

    25   observe and/or supervise Soriano and Jackson in their cell; by failing to respond to
    26
         calls for help from Plaintiff Eddy Soriano; by failing to make physical inspections
    27
    28   and visual inspections of the cell in which Soriano and Jackson were housed at
                                                            29
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 30 of 47 Page ID #:1052



     1   reasonable, timely intervals; by failing to follow operating procedures and policies
     2
         requiring periodic visual inspections of the cells at RPDC; by failing to properly
     3
     4   classify Soriano and Jackson such that both men were improperly placed in the
     5
         same cell; by failing to attend to the cell in which Soriano and Jackson were
     6
     7
         housed; by not paying attention to the cell in which Soriano and Jackson were

     8   housed; and by failing to summon for, and administer, prompt and adequate
     9
         medical attention to Soriano which further contributed to the severity of his
    10
    11   injuries.
    12
                73.   Plaintiff Eddy Soriano and Plaintiff Marites de Guzman allege on
    13
    14   information and belief that at the time of the incident, Defendants Nantes, Pinion,
    15   Chivas and Does 51-100 were agents and/or employees of Defendant County and
    16
         in doing the acts and omissions alleged herein, were acting within the course and
    17
    18   scope of their employment with Defendant County. Pursuant to Government
    19
         Code section 815.2(a), Defendant County is therefore vicariously liable for the
    20
    21   acts and omissions of its employees as alleged herein.
    22
                74.   At all times relevant herein, the acts and omissions of Defendant
    23
    24
         County’s employees, including Defendants Nantes, Pinion, Chivas and Does 51-

    25   100, were a substantial factor in causing Plaintiff Eddy Soriano’s harm and such
    26
         acts and omissions were carried out by Defendant County’s employees in the
    27
    28   course and scope of their employment with Defendant such that Defendant
                                                            30
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 31 of 47 Page ID #:1053



     1   County is vicariously liable for Plaintiff Eddy Soriano’s injuries and damages.
     2
               75.    As a proximate result of Defendants’ wrongful conduct, Plaintiff
     3
     4   Eddy Soriano suffered injuries and damages as set forth herein.
     5
               76.    At all relevant times herein, Plaintiff Marites de Guzman and
     6
     7
         Plaintiff Eddy Soriano were wife and husband.

     8         77.    As a proximate result of Defendants’ wrongful conduct, Plaintiff
     9
         Marites de Guzman suffered a loss of consortium due to Plaintiff Eddy Soriano’s
    10
    11   injuries, since he is now in a permanent vegetative state and cannot communicate
    12
         with or provide companionship to Plaintiff Marites de Guzman.
    13
    14                                   FOURTH CAUSE OF ACTION
    15         (42 USC 1983 Claim by Plaintiff Eddy Soriano Against Defendants
    16
               Meadows, Adams, Elliot, Tompkins, Mozingo, Irving and DOES 101-
    17
    18         125)
    19
               78.    Plaintiff Eddy Soriano realleges and incorporates by reference
    20
    21   paragraphs 1 - 77 of this complaint.
    22
               79.    On February 8, 2015 Defendant Meadows and Defendant Adams
    23
    24
         responded to a dispatch concerning Plaintiff Eddy Soriano for purposes of

    25   conducting a “welfare check”. Defendants Elliot, Tompkins, Mozingo and Irving
    26
         then also responded to the call. Defendant City’s officers were further advised
    27
    28   through dispatch prior to interacting with Plaintiff Eddy Soriano on February 8,
                                                            31
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 32 of 47 Page ID #:1054



     1   2015, that he had dementia and appeared confused. At the time that Defendants
     2
         Meadows, Adams, Elliot, Tompkins, Mozingo and Irving first approached
     3
     4   Plaintiff Eddy Soriano, they knew or should have known that he had no prior
     5
         criminal record and that he suffered from a mental condition.
     6
     7
               80.    Defendants Meadows, Adams, Elliot, Tompkins, Mozingo and Irving

     8   and Does 101-125, knew that placing a mentally disabled individual who had no
     9
         history of violence into custody with the general inmate population would create a
    10
    11   substantial risk of serious harm to Plaintiff Soriano’s health and safety. Despite this
    12
         knowledge, Defendants Meadows, Adams, Elliot, Tompkins, Mozingo, Irving and
    13
    14   Does 101-125 acted with deliberate indifference to Plaintiff Soriano’s health,
    15   safety, and personal security when they processed Plaintiff Soriano as a regular
    16
         inmate instead of following Welfare and Institutions Code 5150 procedures.
    17
    18         81.    After arresting Plaintiff Eddy Soriano, Defendants Meadows, Adams,
    19
         Elliot, Tompkins, Mozingo, Irving and Does 101-125, failed to adequately
    20
    21   investigate, evaluate or analyze Plaintiff Eddy Soriano’s mental health condition.
    22
               82.    In doing the acts complained of, Defendants Meadows, Adams,
    23
    24
         Elliot, Tompkins, Mozingo, Irving and Does 101-125 acted under the color of

    25   state law to deprive the Plaintiff Eddy Soriano of certain constitutionally protected
    26
         rights including, but not limited to, the right not to be deprived of life or liberty
    27
    28   without due process of law, as guaranteed by the Fifth and Fourteenth
                                                             32
                         PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                            CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 33 of 47 Page ID #:1055



     1   Amendments to the United States Constitution and the right to be secure from
     2
         unreasonable searches and seizures guaranteed by the Fourth Amendment to the
     3
     4   United States Constitution.
     5
               83.     In acting and failing to act as hereinabove alleged, Defendants
     6
     7
         Meadows, Adams, Elliot, Tompkins, Mozingo, Irving and Does 101-125, and

     8   each of them, were deliberately indifferent to the substantial risk that Plaintiff
     9
         Eddy Soriano would be injured when confined with other prisoners in the general
    10
    11   prison population.
    12
               84.    As a proximate result of defendants’ wrongful conduct, Plaintiff
    13
    14   Eddy Soriano suffered injuries and damages as set forth when he was brutally
    15   attacked by Defendant Jackson.
    16
                                      FIFTH CAUSE OF ACTION
    17
    18          (State Law Claim for Negligence Brought by Plaintiffs Soriano and de
    19
               Guzman against Defendant City of Murrieta and Defendants Meadows,
    20
    21               Adams, Elliot, Tompkins, Mozingo, Irving and Does 101-125)
    22
               85.    Plaintiff Eddy Soriano and Plaintiff de Guzman reallege and
    23
    24
         incorporate by reference paragraphs 1 - 84 of this complaint.

    25         86.    At all times stated herein, Defendant City, and Defendants Meadows,
    26
         Adams, Elliot, Tompkins, Mozingo, Irving and Does 101-125 owed a duty of care
    27
    28   to Eddy Soriano to properly evaluate, assess and classify Eddy Soriano as a
                                                            33
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 34 of 47 Page ID #:1056



     1   detainee of the Murrieta Police Department.
     2
               87.   At all times relevant herein, the City and Defendants Meadows,
     3
     4   Adams, Elliot, Tompkins, Mozingo, Irving and Does 101-125 knew, or should
     5
         have known, that Eddy Soriano was suffering from a mental disorder such that it
     6
     7
         would be inappropriate to classify him as a criminal detainee, and instead, Eddy

     8   Soriano should have been classified as a Welfare and Institutions Code 5150
     9
         detainee such that appropriate mental health care and treatment would be provided
    10
    11   to him.
    12
               88.   Under California Government Code Sections 845.6; 820(a) and
    13
    14   Section 815.2, Defendant City and Defendants Meadows, Adams, Elliot,
    15   Tompkins, Mozingo, Irving and Does 101-125 had a duty to take reasonable
    16
         action to summon medical care when Defendants Meadows, Adams, Elliot,
    17
    18   Tompkins, Mozingo and Irving knew, or had reason to know that Plaintiff Eddy
    19
         Soriano required immediate medical care in the form of mental health treatment.
    20
    21         89.   Under California Government Code Sections 856, 820(a) and Section
    22
         815.2, Defendant City and Defendants Meadows, Adams, Elliot, Tompkins,
    23
    24
         Mozingo, Irving and Does 101-125 had a duty to use due care in carrying out a

    25   determination to confine Plaintiff Eddy Soriano and the terms and conditions of
    26
         Eddy Soriano’s confinement.
    27
    28         90.   While acting in the course and scope of their employment with City,
                                                           34
                       PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                          CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 35 of 47 Page ID #:1057



     1   Defendants Meadows, Adams, Elliot, Tompkins, Mozingo, Irving and Does 101-
     2
         125 failed to use due care in carrying out the determination to confine Plaintiff
     3
     4   Eddy Soriano and in carrying out the terms and conditions of his confinement by
     5
         failing to adequately investigate, evaluate or analyze Plaintiff Eddy Soriano’s
     6
     7
         mental health condition.

     8         91.    City, and Defendants Meadows, Adams, Elliot, Tompkins, Mozingo,
     9
         Irving and Does 101-125 breached their duties of care under the foregoing statutes
    10
    11   by failing to properly evaluate and assess his mental health upon detaining him;
    12
         failing to classify him appropriately based on his mental health disorder; and
    13
    14   failing to take reasonable action to summon appropriate mental health care for
    15   Plaintiff Eddy Soriano which caused him to be detained as a prisoner. City, and
    16
         Defendants Meadows, Adams, Elliot, Tompkins, Mozingo, Irving and Does 101-
    17
    18   125 failed to communicate to subsequent entities to whom the care and custody of
    19
         Eddy Soriano had been transferred that Eddy Soriano suffered from a mental
    20
    21   health disorder and failed to warn subsequent entities to whom the care and
    22
         custody of Eddy Soriano had been transferred of behavior Eddy Soriano
    23
    24
         demonstrated while in the care and custody of the Murrieta Police Department

    25   consistent with a mental health disorder and Eddy Soriano’s need for appropriate
    26
         mental health care and treatment.
    27
    28         92.    As a direct and proximate result of the conduct of Defendant City,
                                                            35
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 36 of 47 Page ID #:1058



     1   and Defendants Meadows, Adams, Elliot, Tompkins, Mozingo, Irving and Does
     2
         101-125, who were acting in the course and scope of their employment with City,
     3
     4   Eddy Soriano was transferred into the custody of the County of Riverside,
     5
         Riverside County Sheriff’s Department and RPDC with an improper classification
     6
     7
         such that Eddy Soriano was then improperly housed with cellmate Jackson and

     8   Soriano was not given appropriate mental health care and treatment. But for the
     9
         conduct of Defendant City, by and through officers of the Murrieta Police
    10
    11   Department, Plaintiff Eddy Soriano would not have been placed in the same cell
    12
         with Defendant Jackson. On February 18, 2015, during the period of Eddy
    13
    14   Soriano’s confinement with Jackson at RPDC, Eddy Soriano was brutally beaten
    15   by his cellmate Jackson for a period of approximately 21 minutes such that Eddy
    16
         Soriano sustained severe injuries and is now in a permanent vegetative state for
    17
    18   the remainder of his life.
    19
               93.    Based on Defendant City and Defendant Meadows, Adams, Elliot,
    20
    21   Tompkins, Mozingo, Irving and Does 101-125’s aforementioned conduct,
    22
         Plaintiff Eddy Soriano suffered the damages and injuries as set forth herein.
    23
    24
               94.    Plaintiff Eddy Soriano and Plaintiff Marites de Guzman allege on

    25   information and belief that at the time of the incident, in doing the acts and
    26
         omissions alleged herein, Defendants Meadows, Adams, Elliot, Tompkins,
    27
    28   Mozingo, Irving and Does 101-125 were agents and/or employees of Defendant
                                                            36
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 37 of 47 Page ID #:1059



     1   City and were acting within the course and scope of their employment with
     2
         Defendant City. Pursuant to Government Code section 815.2(a), and section
     3
     4   845.5, Defendant City is therefore vicariously liable for the acts and omissions of
     5
         its employees as alleged herein.
     6
     7
                95.   At all times relevant herein, the acts and omissions of Defendant City

     8   and Defendants Meadows, Adams, Elliot, Tompkins, Mozingo, Irving and Does
     9
         101-125 were a substantial factor in causing Plaintiff Eddy Soriano’s harm and
    10
    11   injuries alleged herein.
    12
                96.    At all relevant times herein, Plaintiff Marites de Guzman and
    13
    14   Plaintiff Eddy Soriano were wife and husband.
    15          97.   As a proximate result of City and Defendants Meadows, Adams,
    16
         Elliot, Tompkins, Mozingo, Irving and Does 101-125’s wrongful conduct,
    17
    18   Plaintiff Marites de Guzman suffered a loss of consortium due to Eddy Soriano’s
    19
         injuries.
    20
    21                                     SIXTH CAUSE OF ACTION
    22
                         (Claim for Battery Brought by Plaintiff Eddy Soriano
    23
    24
                                            Against Defendant Jackson)

    25          98.   Plaintiff Eddy Soriano realleges and incorporates by reference
    26
         paragraphs 1 - 97 of this complaint.
    27
    28          99.   On February 18, 2015, Defendant Jackson touched Plaintiff Eddy
                                                            37
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 38 of 47 Page ID #:1060



     1   Soriano with the intent to harm or offend him by beating him severely in their
     2
         shared cell over the course of two hours, with two attacks occurring, the second
     3
     4   lasting a period of approximately 21 minutes. Defendant Jackson inflicted skull
     5
         fractures, facial fractures and severe brain injuries on Plaintiff Eddy Soriano such
     6
     7
         that Plaintiff Eddy Soriano is now in a permanent vegetative state, requiring

     8   round-the-clock medical care and attention for the remainder of his life.
     9
               100. At no time did Plaintiff Eddy Soriano consent to the touching by
    10
    11   Defendant Jackson.
    12
               101. As a direct and proximate result of Defendant Jackson’s actions in
    13
    14   beating Plaintiff Eddy Soriano, Plaintiff Eddy Soriano was harmed and suffered
    15   damages and severe injuries as alleged herein.
    16
               102. A reasonable person in Plaintiff Eddy Soriano’s situation would have
    17
    18   been offended by Defendant Jackson’s conduct in severely beating Plaintiff Eddy
    19
         Soriano to the point where he is now in a permanent vegetative state for the
    20
    21   remainder of his life.
    22
                                        SEVENTH CAUSE OF ACTION
    23
    24
                (42 U.S.C. §1983 – Brought by Soriano Against Defendant Alvarez and

    25                                                 Does 51-100)
    26
               103. Plaintiff Eddy Soriano realleges and incorporates by reference
    27
    28   paragraphs 1 through 102 of this Complaint.
                                                            38
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 39 of 47 Page ID #:1061



     1         104. On February 18, 2015, Defendant Alvarez and Does 51-100, worked
     2
         in the inmate classification department of the Robert Presley Detention Center.
     3
     4   Defendant Alvarez and Does 51-100 duties were to assign inmates that required
     5
         housing to cells within the jail; carry out the duties of a correctional officer to
     6
     7
         monitor, supervise and protect the life, health and safety of the inmates; and

     8   determine the appropriate housing for a pre-trial detainee in a manner that would
     9
         safeguard the life and safety of the pre-trial detainee and minimize any threat to
    10
    11   the physical safety of the pre-trial detainee from other inmates housed in the jail.
    12
               105. 5B of the Robert Presley Detention Center is the mental health
    13
    14   portion of the jail and, in the period spanning February 2014 through March 2015,
    15   5B was the housing unit in RPDC with the highest rate of inmate-on-inmate
    16
         violence.
    17
    18         106. On February 18, 2015, Defendant Alvarez and Does 51-100 housed
    19
         Plaintiff Eddy Soriano, a non-violent, pre-trial detainee who had no prior criminal
    20
    21   record and who was 64 years old, frail and small in stature, in the same cell as
    22
         Defendant Jackson, who was known to be a violent, assaultive inmate who had
    23
    24
         been re-housed no less than seven (7) times due to his violent tendencies, and who

    25   was roughly 41 years younger than Plaintiff Eddy Soriano, mentally unstable and
    26
         significantly larger in stature than Plaintiff.
    27
    28         107. At the time that Defendant Alvarez and DOES 51-100 housed
                                                             39
                         PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                            CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 40 of 47 Page ID #:1062



     1   Plaintiff Soriano with Defendant Jackson, he knew or should have known based
     2
         on the class notes regarding Defendant Jackson’s numerous prior violent
     3
     4   tendencies that Defendant Jackson should be housed alone and that any inmate
     5
         being placed with Defendant Jackson was at a substantial risk of being physically
     6
     7
         injured by Defendant Jackson.

     8         108. At all times relevant here, Defendant Alvarez and DOES 51-100
     9
         were present and were charged with the constitutional duties of protection of
    10
    11   plaintiff and were charged with the duty to not knowingly, with wanton disregard,
    12
         cause his life, health and safety to be placed in danger by intentionally and/or
    13
    14   deliberately ignoring the known dangers to plaintiff that their actions or omissions
    15   placed him in.
    16
               109. Defendants Alvarez and DOES 51-100 placed plaintiff in danger by
    17
    18   the following acts and/or omissions:
    19
                      a. By placing plaintiff, a non-violent, elderly, pre-trial detainee
    20
    21                     suffering from mental health issues, in a cell with Defendant
    22
                           Jackson, who was known to repeatedly display aggressive and
    23
    24
                           combative behavior toward his cellmates, when Defendant

    25                     Jackson should have been housed alone based on his prior,
    26
                           repetitive violent conduct;
    27
    28                b. By placing plaintiff, a non-violent, elderly, pre-trial detainee
                                                              40
                          PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                             CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 41 of 47 Page ID #:1063



     1                   suffering from mental health issues, in a cell with a violent
     2
                         criminal under circumstances which were conducive to the
     3
     4                   eruption of violence, including racial, age and physical strength
     5
                         differences between Plaintiff and Defendant Jackson; and
     6
     7
                      c. Failing to properly classify Defendant Jackson after multiple

     8                   incidents of violent behavior directed toward his cellmates when
     9
                         Defendant had reason to know of the prior violent tendencies and
    10
    11                   the ability and authority to re-classify Defendant Jackson so as to
    12
                         avoid any future harm being perpetrated by Defendant Jackson on
    13
    14                   other inmates.
    15         110. Plaintiff is informed and believes that County of Riverside, Alvarez
    16
         and DOES 51-100 were aware of the threat that Defendant Jackson represented to
    17
    18   plaintiff based on Jackson’s prior violent incidents and aggressive behavior
    19
         toward his cellmates, which was known to County of Riverside, Alvarez and
    20
    21   DOES 51-100 prior to placing plaintiff in the cell with Jackson. County of
    22
         Riverside, Alvarez and DOES 51-100, intentionally, recklessly and with deliberate
    23
    24
         indifference, failed to take any security measures to protect non-violent pre-trial

    25   detainees with mental health issues like plaintiff, from being victims of violent
    26
         assault and battery while in their custody.
    27
    28         111. Alvarez and DOES 51-100 had ample opportunity and resources to
                                                            41
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 42 of 47 Page ID #:1064



     1   intervene and prevent plaintiff’s injuries by finding alternative housing for
     2
         Plaintiff Eddy Soriano, and was compelled to do so as a Sheriff deputy under the
     3
     4   laws of the State of California and under the Constitution of the United States of
     5
         America. In deliberate indifference to the life and welfare of plaintiff, each said
     6
     7
         Defendant intentionally and with deliberate indifference to the civil rights of

     8   plaintiff, housed Plaintiff with Defendant Jackson thereby facilitating the attack
     9
         by Defendant Jackson on Plaintiff Eddy Soriano.
    10
    11         112. In doing the acts complained of, Defendant Alvarez and DOES 51-
    12
         100 acted under the color of state law to deprive Plaintiff Eddy Soriano of certain
    13
    14   constitutionally protected rights including, but not limited to, the right not to be
    15   deprived of life or liberty without due process of law, as guaranteed by the Fourth,
    16
         Fifth and Fourteenth Amendments to the United States Constitution. The above
    17
    18   acts and omissions, while carried out under color of law, have no justification or
    19
         excuse in law, and instead constitute a gross abuse of governmental authority and
    20
    21   power, shock the conscience, are fundamentally unfair, arbitrary and oppressive
    22
         and unrelated to any activity which governmental officers may appropriately and
    23
    24
         legally undertake in the course of protecting persons or property or ensuring civil

    25   order. The above acts and omissions were consciously chosen from among
    26
         various alternatives.
    27
    28         113.    In acting and failing to act as hereinabove alleged, Defendant
                                                            42
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 43 of 47 Page ID #:1065



     1   Alvarez and DOES 51-100, and each of them, were deliberately indifferent to the
     2
         substantial risk that Jackson would assault and severely injure Plaintiff Eddy
     3
     4   Soriano.
     5
               114. As a proximate result of Defendant Alvarez and Does 51 – 100’s
     6
     7
         wrongful conduct, Plaintiff Eddy Soriano suffered injuries and damages as set

     8   forth herein.
     9
               115. The conduct of Defendant Alvarez and Does 51 – 100, and each of
    10
    11   them, was intentional, malicious, willful, wanton and in reckless disregard of
    12
         Plaintiff’s constitutional rights and/or grossly negligent in that this conduct shocks
    13
    14   the conscience and is fundamentally offensive to a civilized society, so as to
    15   justify the imposition of punitive damages against each of the foregoing individual
    16
         defendants.
    17
    18                                EIGHTH CAUSE OF ACTION
    19
               (State Law Claim for Negligence – Brought by Soriano and de Guzman
    20
    21         Against Defendant Alvarez and Does 51-100)
    22
               116. Plaintiff Eddy Soriano and Plaintiff de Guzman reallege and
    23
    24
         incorporate by reference paragraphs 1 - 115 of this complaint.

    25         117. At all times mentioned herein, and under California Government
    26
         Code Section 844.6(d), Alvarez and Does 51-100 were subject to a duty of due
    27
    28   care to monitor, supervise and protect the life, health and safety of inmates of the
                                                             43
                         PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                            CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 44 of 47 Page ID #:1066



     1   RPDC, including carrying out the terms and conditions of Plaintiff Eddy Soriano’s
     2
         confinement while at RPDC and protecting Plaintiff from inmate-on-inmate
     3
     4   violence.
     5
               118. On the day of the incident, Alvarez and Does 51-100 breached their
     6
     7
         duties in that they negligently failed to exercise due care in monitoring and

     8   supervising Plaintiff Eddy Soriano and Defendant Tyler Scott Jackson by the
     9
         following acts and/or omissions: failing to properly classify Soriano and Jackson
    10
    11   such that both men were improperly placed in the same cell; by placing plaintiff, a
    12
         non-violent, elderly, pre-trial detainee suffering from mental health issues, in a
    13
    14   cell with Defendant Jackson, who was known to repeatedly display aggressive and
    15   combative behavior toward his cellmates; by placing plaintiff, a non-violent,
    16
         elderly, pre-trial detainee suffering from mental health issues, in a cell with a
    17
    18   violent criminal under circumstances which were conducive to the eruption of
    19
         violence, including racial, age and physical strength differences between Plaintiff
    20
    21   and Defendant Jackson; and by failing to properly re-evaluate the classification of
    22
         Defendant Jackson after multiple incidents of violent behavior directed toward his
    23
    24
         cellmates.

    25         119. Plaintiff Eddy Soriano and Plaintiff Marites de Guzman allege on
    26
         information and belief that at the time of the incident, Defendants Alvarez and
    27
    28   Does 51-100 were agents and/or employees of Defendant County and in doing the
                                                            44
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 45 of 47 Page ID #:1067



     1   acts and omissions alleged herein, were acting within the course and scope of their
     2
         employment with Defendant County.
     3
     4         120. At all times relevant herein, the acts and omissions of Defendant
     5
         Alvarez and Does 51-100, were a substantial factor in causing Plaintiff Eddy
     6
     7
         Soriano’s harm.

     8         121. As a proximate result of Defendant Alvarez and Does 51-100’s
     9
         wrongful conduct, Plaintiff Eddy Soriano suffered injuries and damages as set
    10
    11   forth herein, including permanent brain damage.
    12
               122. At all relevant times herein, Plaintiff Marites de Guzman and
    13
    14   Plaintiff Eddy Soriano were wife and husband.
    15         123. As a proximate result of Defendant Alvarez and Does 51-100’s
    16
         wrongful conduct, Plaintiff Marites de Guzman suffered a loss of consortium due
    17
    18   to Plaintiff Eddy Soriano’s injuries, since he is now in a permanent vegetative
    19
         state and cannot communicate with or provide companionship to Plaintiff Marites
    20
    21   de Guzman.
    22
                                                     PRAYER
    23
    24
               1.     WHEREFORE, Plaintiffs pray for judgment against defendants, and

    25   each of them, jointly and severally, as follows:
    26
                      a. For economic damages according to proof;
    27
    28                b. For non-economic damages according to proof;
                                                            45
                        PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 46 of 47 Page ID #:1068



     1              c. Punitive damages against each of the individual defendants
     2
                        (Alvarez, Nantes, Chivas, Pinion, Sniff, Di Yorio; Ibarra;
     3
     4                  Gutierrez; Busby, Jackson, Meadows, Adams, Elliot, Tompkins,
     5
                        Mozingo and Irving and Does 26-125) according to proof;
     6
     7
                    d. Reasonable attorney fees and costs of suit pursuant to 42 U.S.C.

     8                  1988 where appropriate;
     9
                    e. Prejudgment interest;
    10
    11              f. Costs of suit incurred herein and further relief as the Court deems
    12
                        just and proper.
    13
    14
                                    DEMAND FOR JURY TRIAL
    15
    16        Plaintiffs respectfully demand that the present matter be set for a jury trial.
    17
         Dated: February 8, 2017               \s\_________________________
    18                                         Robert Trujillo, Esq.
    19                                         Attorney for Plaintiffs, Eddy Soriano by and
                                               through his Conservator, Sherly Tolentino and
    20                                         Marites De Guzman
    21
         Dated: February 8, 2017               \s\_________________________
    22
                                               Melody Trujillo, Esq.
    23                                         Attorney for Plaintiffs, Eddy Soriano by and
    24
                                               through his Conservator, Sherly Tolentino and
                                               Marites De Guzman
    25
    26   Dated: February 8, 2017               \s\_________________________
                                               Suzanne Skolnick, Esq.
    27                                         Attorney for Plaintiffs, Eddy Soriano by and
    28                                         through his Conservator, Sherly Tolentino and
                                               Marites De
                                                       46
                                                          Guzman
                       PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                          CASE NO.: 5:16-CV-155 BRO (SP)
Case 5:16-cv-00155-BRO-SP Document 84 Filed 02/09/17 Page 47 of 47 Page ID #:1069



     1
     2
         Dated: February 8, 2017              \s\_________________________
     3                                        Lewis Khashan, Esq.
     4                                        Attorney for Plaintiffs, Eddy Soriano by and
                                              through his Conservator, Sherly Tolentino and
     5
                                              Marites De Guzman
     6
     7
     8
     9
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
                                                          47
                      PLAINTIFFS’ THIRD AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

                                                                                         CASE NO.: 5:16-CV-155 BRO (SP)
